                                  Case 8:23-bk-10571-SC          Doc 2196 Filed 03/05/25 Entered 03/05/25 10:36:50   Desc
                                                                   Main Document    Page 1 of 2



                                   1   David S. Kupetz (SBN: 125062)
                                       david.kupetz@troutman.com
                                   2   TROUTMAN PEPPER LOCKE LLP
                                       300 S. Grand Avenue, Suite 2600
                                   3   Los Angeles, CA 90071
                                   4   Telephone: (213) 485-1500
                                       Facsimile: (213) 485-1200
                                   5
                                       Katherine E. Culbertson (Admitted Pro Hac Vice)
                                   6   katherine.culbertson@troutman.com
                                       TROUTMAN PEPPER LOCKE LLP
                                   7   111 S. Wacker Drive
                                   8   Chicago, IL 60606
                                       Telephone: (312) 443-0700
                                   9   Facsimile: (312) 443-0336

                                  10   Attorneys for Defendant
                                       MARICH BEIN, LLC
                                  11
                                  12                              UNITED STATES BANKRUPTCY COURT
300 S. Grand Avenue, Suite 2600
 Troutman Pepper Locke LLP




                                  13               CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
    Los Angeles, CA 90071




                                  14   In re:                               ) Case No. 8:23-bk-10571-SC
                                                                            )
                                  15   THE LITIGATION PRACTICE GROUP, P.C., ) Chapter 11
                                  16                                        )
                                                            Debtor.           MARICH BEIN, LLC’S NOTICE OF
                                                                            )
                                  17                                          OPPOSITION TO MOTION FOR ENTRY
                                                                            ) OF AN ORDER EXTENDING ESTATE’S
                                  18                                        ) TIME TO FILE ACTIONS GOVERNED BY
                                                                            ) 11 U.S.C. §§ 108, 546(a) AND 549(d) AND
                                  19                                        ) REQUEST FOR HEARING
                                                                            )
                                  20                                        )
                                  21                                        )
                                                                            )
                                  22                                        )
                                                                            )
                                  23
                                  24
                                  25            TO THE COURT, HONORABLE SCOTT C. CLARKSON, OFFICE OF THE UNITED
                                  26   STATES TRUSTEE, RICHARD A. MARSHACK, CHAPTER 11 TRUSTEE, AND TO HIS
                                  27   ATTORNEYS DINSMORE & SHOHL, LLP, AND ALL OTHER INTERESTED PARTIES:
                                  28
                                       143538324
                                  Case 8:23-bk-10571-SC         Doc 2196 Filed 03/05/25 Entered 03/05/25 10:36:50               Desc
                                                                  Main Document    Page 2 of 2



                                   1          NOTICE IS HEREBY GIVEN that Marich Bein, LLC (“Marich Bein”), by and through its

                                   2   undersigned counsel of record, hereby files this response in opposition (the “Opposition”) to the

                                   3   Motion for an Order Extending the Estate’s Time to File Actions Governed by 11 U.S.C. §§ 108,

                                   4   546(a) and 549(d) [Bankr. Dkt. No. 2109] (the “Motion to Extend”), filed by Richard A. Marshack,

                                   5   in his capacity as the former Chapter 11 Trustee for the bankruptcy estate of the Litigation Practice

                                   6   Group P.C. and current Liquidating Trustee of the LPG Liquidation Trust (“Trustee”) of the

                                   7   Bankruptcy Estate of The Litigation Practice Group P.C. (“Debtor” or “LPG”).

                                   8          NOTICE IS FURTHER GIVEN that, pursuant to Rules 9013-1(f) and 9013-1(o) of the Local

                                   9   Bankruptcy Rules of the United States Bankruptcy Court for the Central District of California (the

                                  10   “Local Rules”), this Opposition is based upon this Notice, the concurrently filed Memorandum of

                                  11   Points and Authorities in Support of the Opposition to Motion to Extend (the “Memorandum”) and

                                  12   all records, files, and pleadings in this action, and such other materials of which the Court may take
300 S. Grand Avenue, Suite 2600
 Troutman Pepper Locke LLP




                                  13   judicial notice, and such other and further evidence as may be presented at the hearing on the Motion
    Los Angeles, CA 90071




                                  14   to Extend. The legal arguments and authorities in support of this Opposition are set forth in the

                                  15   Memorandum.

                                  16          NOTICE IS FURTHER GIVEN that, pursuant to Local Rule 9013-1(g), any written reply to

                                  17   the Opposition must be filed with the Court and served in accordance with Local Rule 9013-1(g)(2),

                                  18   no later than 7 days prior to the hearing on the Motion to Extend.

                                  19          WHEREFORE, the undersigned prays that this Court set the Motion to Extend for hearing

                                  20   and deny the relief requested by the Trustee in the Motion to Extend.

                                  21   Dated: March 5, 2025                               Respectfully submitted,

                                  22                                                      TROUTMAN PEPPER LOCKE LLP
                                  23                                                      By: /s/ David S. Kupetz       .
                                  24                                                          David S. Kupetz
                                  25                                                          Katherine E. Culbertson

                                  26                                                          Attorneys for MARICH BEIN, LLC

                                  27
                                  28
                                       143538324
